                           UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF TENNESSEE
                                   AT KNOXVILLE


 UNITED STATES OF AMERICA                           )
                                                    )
                                                    )
                                                    )       No. 3:09-CR-79
 V.                                                 )       (JORDAN/ SHIRLEY)
                                                    )
                                                    )
                                                    )
 MARY ROBERTS                                       )

                       ORDER OF DETENTION PENDING TRIAL


               A detention hearing was held in this case on December 3, 2009. David Lewen,

 Assistant United States Attorney, was present representing the government, and David

 Dupree was present representing the defendant. Before the detention hearing began, counsel

 for the defendant stated that the defendant wished to waive her right to a detention hearing

 at this time, and reserve the right to have a hearing at a later date, if appropriate. Pursuant

 to the defendant signing a Waiver of Detention Hearing, the defendant is to be detained. 18

 U.S.C. § 3142(f)(2)(B). The government stated they had no objections. The defendant was

 present and stated that she knew she would remain in jail pending trial. For good cause, and

 by agreement of the defendant, this detention hearing is waived and the defendant is

 detained.

               The defendant is aware of her rights to a prompt detention hearing and to

 require the government to meet its burden of proving that no conditions of release exist

 which will reasonably assure her appearance in court and the safety of the community. The


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 defendant knows that if her detention hearing is waived she will remain in custody while it

 is continued. The defendant acknowledged in open court that she understands her rights and

 the consequences of waiving her detention hearing.

              For good cause shown, the defendant’s request not to contest, and to waive the

 detention hearing is hereby GRANTED.

              It is therefore ORDERED that:

              (1)    Defendant be detained.;

              (2)    Defendant be committed to the custody of the Attorney
                     General for confinement in a corrections facility separate, to
                     the extent practicable, from persons awaiting or serving
                     sentences or being held in custody pending appeal;

              (3)    Defendant be afforded reasonable opportunity for private
                     consultation with counsel; and

              (4)    On order of a court of the United States or on request of an
                     attorney for the government, the person in charge of the
                     corrections facility in which the defendant is confined
                     deliver the defendant to a United States marshal for the
                     purpose of an appearance in connection with any court
                     proceeding.


                                   ENTER:

                                       s/C. Clifford Shirley, Jr.
                                   United States Magistrate Judge




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